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B250a
(1/88)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA

Inre Bankruptcy No. 21-11750
Midnight Madness Distilling LLC,
Debtor

Bonnie B. Finkel,
in her capacity as Ch. 7 Trustee
for Midnight Madness Distilling LLC,
Plaintiff Adversary No. 23-00047-mdc

Casey Parzych; Shawn Sheehan; Angus Rittenburg; Kelly Festa; Ashleigh Baldwin;
Michael Boyer; R.F. Culbertson; Gary Parzych; Ryan Uszenski; Polebridge, LLC;
Good Design, Inc.; AgTech PA LLC; AgTech VI, LLC; XO Energy Worldwide, LLLP;
XO EW, LLC; Can Man LLC; Best Bev LLC; EtOH Worldwide LLC; Canvas 340, LLC;
Finland Leasing Co., Inc.; and Eugene T. Parzych, Inc.,

Defendants

SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons,
except that the United States and its offices and agencies shall submit a motion or answer to the complaint
within 35 days. Answer is due July 17, 2023.

Address of Clerk U.S. Bankruptcy Court U.S. Bankruptcy Court
Robert N.C. Nix Building 201 Penn Street Ste 103
900 Market Street, Suite 400 Reading, PA 19601

Philadelphia PA 19107-4299
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorneys.

Name/Address of Plaintiffs Attorneys

Andrew . Belli Steven M. Coren

Coren & Ress, PC Kaufman, Coren & Ress, P.C.

2001 Market Street Suite 3900 Two Commerce Square Suites 3900
Philadelphia, PA 19103 2001 Market Street

Philadelphia PA 19103
If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

IF YOU.FAIL: TO-RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TOENTRY OF.A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE. TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

FOR THE COURT

TIMOTHY B. MCGRATH

CLERK

June16, 2023
By: s/ Jeanette Gilmore
Deputy Clerk
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Bankruptcy No. 21-11750 Adversary No. 23-47
CERTIFICATE OF SERVICE

|, Christina Capra_ certify that | am, and at all times during the service of process was,
not less than 18 years of age and not a party to the matter concerning which service of process was made.
| further certify that the service of this summons and a copy of the complaint was made _ON June 16, 2023

(date) by:

f Mail service: Regular, first class United States mail, postage pre-paid, addressed to:

Defendants as set forth on Exhibit A hereto.
( ) Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:
( ) Residence Service: By leaving the process with the following adult at:

( ) Publication: The defendant was served as follows:[Describe briefly]

( ) State Law: The Defendant was served pursuant to the laws of the State of (name
of state) as follows: [Describe briefly]

Under penalty of perjury, | declare that the foregoing is true and correct.

Las\a0a3 CUnrutro— CoQ o0—

Date | | Signature J

Christina Capra
Coren & Ress, P.C., 2001 Market Street, Suite 3900

Print Name

Business Address

City, State, Zip Philadelphia, PA 19103

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Exhibit A

Defendant

Service Address(es) via Regular, First Class United States Mail, Postage Pre-Paid

Casey Parzych

Casey Parzych

c/o AgTech PA, LLC
2512 Quakertown Road
Pennsburg, PA 18073

Casey Parzych

PO Box 173
Trumbauersville, PA
18970

Shawn Sheehan

Shawn Sheehan

East Plaza, Suite 120

6115 Estate Smith Bay
Charlotte Amalie, United
States Virgin Islands 00802

Angus Rittenburg

Angus Rittenburg
2360 East Rock Road
Perkasie, PA 18944

Angus Rittenburg

c/o Best Bev

2512 Quakertown Road
Pennsburg, PA 18073

Kelly Festa

Kelly Festa
1851 Myers Road
Quakertown, PA 18951

Kelly Festa

c/o Best Bev

2512 Quakertown Road
Pennsburg, PA 18073

Ashleigh Baldwin

Ashleigh Baldwin
649 Sweetbriar Road
Perkasie, PA 18944

Ashleigh Baldwin

c/o Best Bev

2512 Quakertown Road
Pennsburg, PA 18073

Ashleigh Baldwin
478 Lurgan Road
New Hope, PA 18938

Michael Boyer

Michael Boyer
4406 Lowell Road
Wilmington, DE 19802

Michael Boyer

c/o AgTech PA, LLC
2512 Quakertown Road
Pennsburg, PA 18073

R.F. Culbertson

R.F. Culbertson
17 Churchill Road
Pittsburgh, PA 15235

R.F. Culbertson

c/o Best Bev

2512 Quakertown Road
Pennsburg, PA 18073

Gary Parzych

Gary Parzych
138 N. Main Street
Trumbauersville, PA 18970

Gary Parzych

c/o Eugene T. Parzych,
Inc.

2300 Trumbauersville
Road, Box 48
Trumbauersville, PA
18970

Ryan Uszenski

Ryan Uszenski

8-40 Estate Nazareth
Charlotte Amalie, United
States Virgin Islands 00802

Ryan Uszenski

c/o Can Man, LLC

2512 Quakertown Road
Pennsburg, PA 18073

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Defendant

Service Address(es) via Regular, First Class United States Mail, Postage Pre-Paid

Polebridge LLC

Polebridge LLC

Attn: Ashleigh Baldwin,
President

c/o Best Bev

2512 Quakertown Road
Pennsburg, PA 18073

Polebridge LLC

Attn: Ashleigh Baldwin,
President

649 Sweetbriar Road
Perkasie, PA 18944

Polebridge LLC

Attn: Ashleigh
Baldwin, President
478 Lurgan Road
New Hope, PA 18938

Good Design, Inc.

Good Design, Inc.

Attn: Ashleigh Baldwin, CEO
c/o Best Bev

2512 Quakertown Road
Pennsburg, PA 18073

Good Design, Inc.
Attn: Ashleigh Baldwin,
CEO

649 Sweetbriar Road
Perkasie, PA 18944

AgTech PA LLC

AgTech PA, LLC

Attn: Casey Parzych,
President

2512 Quakertown Road
Pennsburg, PA 18073

AgTech VI, LLC

AgTech VI, LLC

Attn: Business Basics VI,
LLC, Registered Agent
Royal Palms Professional
Building

9053 Estate Thomas, Suite
101

Charlotte Amalie, United
States Virgin Islands 00802

XO Energy
Worldwide, LLLP

XO Energy Worldwide, LLLP
Attn: Marjorie Rawls
Roberts, PC, Registered
Agent

Po Box 6347

Charlotte Amalie, United
States Virgin Islands 00804

XO EW, LLC

XO EW, LLC

Attn: Marjorie Rawls
Roberts, PC, Registered
Agent

Po Box 6347

Charlotte Amalie, United
States Virgin Islands 00804

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Defendant Service Address(es) via Regular, First Class United States Mail, Postage Pre-Paid
Can Man LLC Can Man, LLC
Attn: Ryan Uszenski,
Manager

2512 Quakertown Road
Pennsburg, PA 18073

Best Bev, LLC Best Bev, LLC

Attn: Hibiscus Business
Services, LLC

Po Box 6347

Charlotte Amalie, United
States Virgin Islands 00804

EtOH Worldwide EtOH Worldwide, LLC

LLC Attn: Marjorie Rawls
Roberts, PC, Registered
Agent

Po Box 6347

Charlotte Amalie, United
States Virgin Islands 00804

Canvas 340, LLC Canvas 340, LLC

Attn: Hibiscus Business
Services, LLC

Po Box 6347

Charlotte Amalie, United
States Virgin Islands 00804

Finland Leasing Finland Leasing Co., Inc.

Co., Inc. c/o Gary Parzych, President
2300 Trumbauersville Road,
Box 48

Trumbauersville, PA 18970

Eugene T. Parzych, | Eugene T. Parzych, Inc.

Inc. c/o Gary Parzych, President
2300 Trumbauersville Road,
Box 48

Trumbauersville, PA 18970

